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 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                 )
 9   UNITED STATES OF AMERICA,                   )   Case No.: 2:15-cr-00177-GEB
10                                               )
                   Plaintiff,                    )   STIPULATION AND [PROPOSED]
11                                               )   ORDER AMENDING CONDITIONS OF
           vs.                                   )   RELEASE
12                                               )
     JASON MATECKI,                              )
13                                               )
14                 Defendant.                    )
                                                 )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that
17   conditions of pretrial release are amended. Conditions of release were originally filed on
18   December 9, 2015. See ECF Doc. No. 29. Pretrial Services, Kevin Khasighian, Assistant
19   United States Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to these
20   amendments.
21         Condition #10 shall be amended as follows:
22   10.   You must abstain from any use of alcohol or any use of a narcotic drug or other
23   controlled substance without a prescription by a licensed medical practitioner; and you
24   must notify Pretrial Services immediately of any prescribed medication(s). However,
25   medicinal marijuana, prescribed or not, may not be used.
26         An additional special condition of release is also added:
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 1   15.    You must participate in the substance abuse treatment program at Ocean Hills
 2   Recovery inpatient facility, and comply with all the rules and regulations of the program.
 3   You must remain at the inpatient facility until released by the pretrial services officer.
 4                 a.     A responsible party, approved by Pretrial Services, must escort you
 5          to all required court hearings and escort you back to the inpatient facility upon
 6          completion of the hearing;
 7   All previously ordered conditions will remain in full force and effect.
 8
 9   IT IS SO STIPULATED.
10
11
     DATED: June 20, 2017                              By:     /s/ Thomas A. Johnson
12                                                             THOMAS A. JOHNSON
                                                               Attorney for Jason Matecki
13
     DATED: June 20, 2017                                      PHILLIP A. TALBERT
14                                                             United States Attorney
15                                                      By:    /s/ Kevin Khasigian
                                                               KEVIN KHASIGHIAN
16                                                             Assistant United States Attorney
17
18                                             ORDER
19          IT IS SO ORDERED.
20
21   DATED: June 20, 2017
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